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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, ET AL.,  )
                                    )
           Plaintiffs,              )
                                    )           CV No. 20-3010
        vs.                         )           Washington, D.C.
                                    )           June 28, 2023
 GOOGLE LLC,                        )           2:00 p.m.
                                    )
           Defendant.               )
 ___________________________________)


                         TRANSCRIPT OF
             STATUS CONFERENCE VIA ZOOM PROCEEDINGS
               BEFORE THE HONORABLE AMIT P. MEHTA
                  UNITED STATES DISTRICT JUDGE


 APPEARANCES:

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1                             P R O C E E D I N G S

2                COURTROOM DEPUTY:       Good afternoon, Your Honor.

3                This is Civil Action 20-3010, United States of

4     America, et al., versus Google LLC.

5                Kenneth Dintzer for the DOJ.

6                William Cavanaugh for the plaintiff states.

7                And John Schmidtlein on behalf of the defendant.

8                THE COURT:     All right, Counsel, good afternoon.

9     I hope everyone is well.

10               Can everybody hear me okay?

11               MR. CAVANAUGH:      Yes, Judge.

12               THE COURT:     Okay.    Great.

13               Mr. Dintzer and Mr. Schmidtlein didn't get the

14    memo, but Mr. Cavanaugh did.        So I appreciate that I'm not

15    the only one wearing a tie.

16               All right.     Well, thank you for making yourselves

17    available on short notice.        In light of the government's

18    filing the other day, I wanted to try and -- wanted to talk

19    about scheduling; it's not something that we've really

20    talked about since our initial meetings together and the

21    entry of the CMO.

22               Why don't we just begin with the question -- now

23    that you have all have been at this for a while, you've

24    clearly given some thought to what your trial presentations

25    will look like.
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                                                                              4

1                Mr. Dintzer, you had alluded to the amount of time

2     you think you'll need, and so maybe that's a good place to

3     start.   And both you and Mr. Cavanaugh have sort of given me

4     a rough estimate of what you think your current

5     case-in-chiefs will require in terms of time.

6                MR. DINTZER:    We appreciate that, Your Honor.

7                And we really appreciate you taking the time out

8     to hear from us, not only on short notice but also at a

9     certain inconvenience.     So we really appreciate that.

10               We have sharpened our pencils; and we are asking

11    for 120 hours for the DOJ case, which would be our

12    case-in-chief, our cross of Google, and rebuttal, which

13    hashes out -- if we're looking at 30 hours of trial time per

14    week, it hashes out to four weeks.        So that's what we're

15    asking for our case.     That doesn't include the -- include

16    Google's case or the states' case or their exam time, but

17    that is -- that's what we need for our case.

18               THE COURT:    Okay.

19               Mr. Cavanaugh.

20               MR. CAVANAUGH:     Your Honor, we estimate two weeks

21    for our case.    That -- just to be clear, that includes

22    examination of overlapping witnesses that we have with DOJ.

23               We filed a motion to consolidate yesterday.            And

24    as we note in it, of the 17 live fact witnesses we have,

25    9 of them overlap with witnesses that are on the DOJ list.
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                                                                              5

1                So, you know, while DOJ is putting on a witness,

2     we would examine that witness at that time.             So the two

3     weeks isn't purely incremental, Judge.         It would -- but our

4     estimate is roughly two weeks.

5                THE COURT:    Okay.

6                Mr. Schmidtlein.

7                MR. SCHMIDTLEIN:      Your Honor, we have, you know,

8     taken to heed the initial reaction you had when we first met

9     with you, recognizing that the states have added some things

10    on top of that.

11               We think, quite frankly, this case should be tried

12    in its entirety, both sides, in no more than six weeks, and

13    that it should be roughly three weeks a side.

14               You know, the idea that they together are going to

15    need six weeks and then we're going to be, you know,

16    afforded -- now you're looking at a ten-week trial, and we

17    don't think that is necessary.

18               We've seen -- and I understand, appreciate

19    Mr. Dintzer saying he sharpened his pencil.             I suggest his

20    pencil needs substantial additional sharpening.

21               But in any event, that's the -- that's what we

22    have always contemplated based on the direction you have

23    given us, and we are prepared to move forward accordingly.

24               THE COURT:    Okay.

25               Mr. Dintzer, let me ask you.        Your 120 hours is a
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                                                                               6

1     fair amount of time.     My trial days are fairly long.          We'll

2     go seven -- you know, seven hours a day typically -- or

3     actually probably 6 and a half, I guess, and likely only

4     half-days on Friday because I've got to get other matters in

5     during trial.

6                But, I mean, give me your best estimate or more

7     realistic estimate as to if we were to -- I would ask you to

8     cut your case back, what the minimum amount of time that you

9     need is to reasonably present the evidence that you wanted

10    to present without being overly duplicative, and recognizing

11    that, at least in my limited experience, that the evidence

12    can get duplicative pretty quickly.

13               MR. DINTZER:    Sure.

14               THE COURT:    You know, we don't need four witnesses

15    when sometimes two will do.

16               MR. DINTZER:    And we appreciate that, Your Honor.

17               And just for some context, we will be looking at

18    separate witnesses for the search side of the case, for the

19    search ad side.    I'm talking about Google's contracting

20    practices, their finances, and with respect to scale, which

21    the Court understands is an important issue.

22               Our period of time covered is ten years, which

23    doesn't mean we're having, you know, people cover every day

24    and every week of the ten years, but it covers a significant

25    period of time.
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                                                                                7

1                And just to put it into context, the Microsoft

2     trial was 76 days.       The Pages trial was nine weeks.         McWane

3     was two months.    And Amex, a recent trial, which wasn't

4     Section II but a significant trial, was seven weeks.              So

5     those are all sort of in the ballpark of what we're talking

6     about.

7                One question, and I do want to respond to the

8     Court's question.       It would help me, Your Honor, to know a

9     couple of things about the Court's practice.

10               The first one is how the Court generally handles

11    designations and -- because that would affect -- that

12    affects our number, quite honestly.         Are the designations

13    read in court?    Are the designations submitted?           And what's

14    the Court's practice with respect to designations?

15               THE COURT:      No, I mean -- I mean, unless there is

16    some designation that you think particularly compelling that

17    you'd like to have read out loud or acted out or -- or I

18    suppose what you really mean is video.          I assume all the

19    depositions were video, so you'd like to play some video.

20               But, look, unless there are compelling reasons to

21    actually present the video during the trial day, I would

22    just as well have you submit all of that, and then, you

23    know, I can look at that as needed.

24               What I've done in the past is, when you all submit

25    your proposed findings of fact and conclusions of law,
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                                                                                   8

1     you'll hyperlink to particular pieces of evidence to support

2     your findings, and oftentimes those hyperlinks are to

3     deposition testimony and designations.

4                I'm not sure how that precisely would work with

5     video, but we can work that out at another time.             So that's

6     what I'm contemplating.       That's how I've done it in the past

7     in large bench trials.

8                MR. DINTZER:      And that's very helpful, Your Honor.

9                One other question that would help us as well is:

10    With respect to the admissibility of documents, does the

11    Court require a sponsoring witness for documents?             Or if we

12    have the elements, especially Google's documents, but any

13    documents, that we can submit those without a sponsoring

14    witness?

15               THE COURT:      Yeah.

16               So my expectation is that you all will -- my hope

17    is that most of the records that we're talking about,

18    there's really not going to be any dispute about regarding

19    admissibility.

20               You know, I would imagine most of these would be

21    business records.       And if not that, then if they're Google

22    records, then they're probably admissions of some kind.                 So

23    I would be surprised if we had a lot of genuine evidentiary

24    disputes about admissibility of records, but I could be just

25    being overly ambitious about that.
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                                                                             9

1                 So my hope would be that you all would stipulate

2     to the admissibility of most of the records.            And to the

3     extent that we have disputes, we can raise those either --

4     pretrial.    And if they're small enough disputes, we can

5     resolve them before the trial commences or we'll take it up

6     as it goes.

7                 Look, obviously, business records, as long as

8     there's a certification, I don't need a particular witness

9     to sponsor a record.

10                And I don't think we ought to spend a lot of time

11    having witnesses, you know, read records either.            I mean,

12    there may be some key documents that you do want to

13    highlight particular portions of, but I just as well can

14    read whatever you'd like for me to take a look at than have

15    somebody sit there on the witness stand and take hours and

16    hours just reading from documents just to make the record.

17                MR. DINTZER:   And we appreciate that as well,

18    Your Honor.

19                So with those two insights, we could moderate our

20    ask to 105 hours, which would be three and a half weeks for

21    us.   And presumably if Google got the same, it would be a

22    seven-week trial, with the understanding, again, that that

23    doesn't include the states' case, which they've got their

24    own witnesses -- I mean, some of them will be overlapping --

25    and their own questions for those witnesses.
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1                 And I know we're not talking about consolidation,

2     but that's -- without -- without putting ourselves in a

3     position where we're racing around at the last minute to

4     make sure that we have the time, just to put things in

5     perspective, between the DOJ Plaintiffs and Google, we have

6     ten experts on will-call.

7                 So that's ten experts that the parties -- and

8     Google has two economic experts, and we have one primary

9     economic expert.        And so there's a lot of important

10    materials to go through.        So that's about as sharp as our

11    pencil can get.     But we did -- with those -- with the

12    insight that the Court provides, that's what we would ask.

13                THE COURT:      Okay.

14                Mr. Cavanaugh, does that change your thinking at

15    all about the timing of your case?

16                MR. CAVANAUGH:      Honestly, not materially,

17    Your Honor.

18                We have two distinct issues on SA360 and SVPs,

19    which are not overlapping issues in terms of factual

20    presentation.

21                We have two experts.

22                But our issue is we're going to prove our case

23    through third-party witnesses, you know, people from ad

24    agencies, people that purchase ads, people who utilize 360,

25    and from SVPs in different -- in different channels.               And it
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                                                                                11

1     adds up to, you know, a good number of witnesses that are

2     not, in our view, going to be duplicative.

3                 You know, if you said to me, you know,

4     "Mr. Cavanaugh, you have to prove your case in eight days,

5     and that includes Google's cross-examination" -- and I

6     should say I suspect there are not many -- actually,

7     I'm not sure there are any third-party witnesses relating to

8     SA360 or SVPs on Google's witness list.           So I suspect much

9     of their -- much of their case, in responding to us, will be

10    done through their cross-examination of third-party

11    witnesses.

12                THE COURT:     So, Mr. Dintzer, if you're down to

13    105 hours, that is, what, about 16 trial days, if my math is

14    right?

15                MR. DINTZER:     So 30, 60, 90, that's 15.         And then

16    16, 17 -- I think 16-plus.         So let's call it 17 trial

17    days --

18                THE COURT:     Right.

19                MR. DINTZER:     -- for the DOJ side.

20                And then, of course, I -- if Google is -- I don't

21    know if Google is going to ask for it, but that's on top of

22    our side.

23                THE COURT:     Okay.

24                And then, Mr. Schmidtlein, you think three weeks?

25                MR. SCHMIDTLEIN:       For the DOJ side, that's
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                                                                               12

1     correct, Your Honor.

2                 THE COURT:     Okay.

3                 That's just with respect to the DOJ case?

4                 MR. SCHMIDTLEIN:       Correct.

5                 THE COURT:     Okay.

6                 Well, this may be an opportune time then to just

7     talk about consolidation and what -- I know you haven't

8     responded yet, Mr. Schmidtlein, but what are your thoughts

9     about that topic?

10                MR. SCHMIDTLEIN:       I think Google does not oppose

11    consolidation for trial.

12                The issue that we raised with the states was that

13    in both their papers and in their order, there was a

14    reference to consolidating for trial and post-trial.

15                And, candidly, I wasn't sure what -- we weren't

16    really sure what consolidation for post-trial proceedings

17    indicated here.     I think throughout, we've kind of taken

18    this one step at a time.

19                And we indicated to them that if they took that

20    language out, we would certainly not oppose the motion.

21    They refused to do that or provide an explanation as to what

22    the purpose of that was.

23                But for purposes of the trial on liability, the

24    bifurcated proceeding that Your Honor has set for September,

25    Google does not oppose consolidation of that.
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                                                                                13

1                 THE COURT:     Okay.

2                 Mr. Cavanaugh, do you mean by "post-trial"

3     anything more than just the post-trial schedule when it

4     comes to liability?

5                 MR. CAVANAUGH:     No, Your Honor.      It would be a

6     little more than that.

7                 Certainly, post-trial briefing would be done on a

8     consolidated basis.

9                 And, frankly, remedies would as well.           We've

10    adopted the allegations made by the United States in its

11    complaint, so we would be involved in remedies regardless of

12    what happens on -- if there are some bases for liability,

13    for example, on search, we would be involved in that.               So,

14    frankly, I couldn't think of anything post-trial that we

15    wouldn't be involved in.

16                Appeal is a distinct question, and the rules deal

17    with that.    But that's what -- at the District Court level,

18    that's -- I couldn't envision something that we wouldn't be

19    involved in.

20                THE COURT:     Right.

21                MR. CAVANAUGH:     So that was the nature of the

22    relief we sought.

23                THE COURT:     Okay.

24                Well, look, I think the bottom line, at least what

25    I envisioned all along, is that we would -- you know,
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                                                                                  14

1     consolidation simply meant that we would do everything at

2     once, and that, you know, we've been operating on parallel

3     tracks here.

4                 Obviously, the states have both overlapping claims

5     and unique claims.      And so my vision was simply that we

6     would just take care of everything in parallel.                And I don't

7     see the need for separate proceedings.             And we'll stay on

8     the same schedule as we have throughout.

9                 Okay.

10                So then what we're looking at is 16 days, plus

11    another 10 trial days.       That's 26.       Plus another 15 trial

12    days.   That's 41 days.

13                MR. DINTZER:     Your Honor, just because -- I'm

14    having people check my math.         If we're talking about 6 hours

15    of trial per day, that's 17 for us, and I just want to make

16    sure that our ask is clear.

17                THE COURT:     Right.    No.     I got you.

18                MR. DINTZER:     Okay.      Thank you.

19                THE COURT:     All right.

20                Well, let me do this, because I have -- I'm just

21    going to have to do some things to the back end of my

22    schedule to make this work.

23                And I think -- I had set aside on my calendar --

24    let's just put it this way:         Perhaps not enough time.

25                And I've got some other cases that are coming up
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1     that follow on, but we'll just have to work through that.

2     It is an unforgiving schedule at this point, so we'll --

3     that's my problem, not yours.

4                 Okay.   So let us -- let me think about it, and

5     I'll get back to everybody by the end of the week just with

6     a final schedule in terms of trial time and number of days

7     in the schedule.

8                 Just for your benefit, even right now, I know that

9     I won't be able to sit on the 20th or 23rd.              So assuming we

10    are still in trial at that point, those are two days that

11    I've already committed to be out of town.           So just bear that

12    in mind.

13                Okay.

14                MR. DINTZER:     Just for a heads-up to the Court,

15    I believe one of the potential trial days is the High

16    Holidays, and we'd ask the Court -- I mean, if it's

17    necessary for the Court, of course, we will, but we'd ask

18    the Court to give us an allowance on that one, that we don't

19    sit on that day.

20                THE COURT:     Do you know what day that is,

21    Mr. Dintzer?

22                Oh, Yom Kippur is on the 25th?

23                MR. DINTZER:     Yes, it is, Your Honor.

24                THE COURT:     Okay.

25                I'm just looking at my calendar.
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                                                                               16

1                 Rosh Hashanah is the 16th.        Will that -- will

2     there be problem?

3                 MR. DINTZER:     Let me look.

4                 When I checked, I believe that it was only one day

5     that crossed over, but...

6                 THE COURT:     I have Rosh Hashanah down on the 16th,

7     but...

8                 MR. DINTZER:     That's a weekend, so that won't be a

9     problem.

10                THE COURT:     But will the -- well, I'm showing my

11    limited knowledge of the Jewish faith, but oftentimes

12    holidays will begin -- or sundown is of some significance.

13    And so will we need to end early on that 13th, on the 15th?

14                MR. DINTZER:     We may ask that; or I may step out,

15    Your Honor, and have someone else if I -- if we -- if the

16    day is going to go long.

17                THE COURT:     Okay.

18                MR. SALET:     Your Honor, I apologize.        I'm not

19    supposed to talk, but can I add on this issue?

20                I think you said you were ending at noon on

21    Fridays, half-day Fridays.         If that's the case, that would

22    be no issue with Rosh Hashanah.

23                THE COURT:     So it's going to probably be a

24    week-to-week thing.

25                I'm trying to reserve Friday afternoons for other
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                                                                               17

1     matters, in particular sentencings.          And, you know, if they

2     don't get filled then, then we can continue and have a

3     longer day on Friday.

4                 MR. SALET:     Thank you, Your Honor.

5                 MR. DINTZER:     I'm told that the projected sunset

6     isn't until 7:17 that day.         So unless court runs long, we

7     should be okay on that Friday.

8                 THE COURT:     Okay.

9                 All right.     Well, let me -- as I said, let me look

10    at my calendar, and then we'll get an order out by the end

11    of the week -- by the end of the week.

12                Okay.   So in terms then of what the issue that was

13    in the motion that concerned the timing of deposition

14    designations, let me just ask generally.

15                There was an initial deadline of June 20th for an

16    exchange of exhibits and witness lists.           I take it that has

17    happened already?

18                MR. DINTZER:     It has, Your Honor.

19                THE COURT:     Okay.

20                So then, Mr. Dintzer, are you just asking for --

21    what is it then that you are seeking with respect to

22    additional deposition designations?

23                MR. DINTZER:     We were asking for the opportunity

24    to -- to perhaps have some flexibility after we had a chance

25    to talk to the Court about not only the length of the trial
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1     but also how the Court would handle designations so we could

2     get a feel for how we were going to do ours, just some

3     insight.

4                 So we don't -- I mean, given that we still have

5     some time, we'd ask the Court to give the parties a chance

6     to take another look at their designations and see if

7     there's any further designations that they need to do.

8                 THE COURT:     Okay.

9                 Mr. Schmidtlein, any thoughts, comments about

10    that?

11                MR. SCHMIDTLEIN:       In light of Your Honor's desire

12    to get -- curtail these proceedings in an appropriate

13    fashion, given what Mr. Dintzer has already lobbed over the

14    transom, I would hope that there would not be more things

15    lobbed over the transom at this point.

16                THE COURT:     Okay.

17                MR. DINTZER:     I don't have -- excluded at trial.

18                THE COURT:     I take it to mean that there have been

19    quite a bit -- there's been quite a bit designated already.

20                MR. SCHMIDTLEIN:       There is -- we are still trying

21    to calculate the volume of hours that have been designated

22    thus far.

23                THE COURT:     Okay.    All right.

24                So then the last issue I wanted to talk about is

25    the spoliation motion, the sanctions motion.
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1                 I got the order out this morning with respect to

2     the Hold Memoranda.       Sorry it's taken me so long to turn to

3     that.

4                 The question I have is, in the interest of time,

5     to the extent I were to permit further testimony, both

6     sides -- or both plaintiffs have requested a hearing and

7     identified certain number of witnesses that they'd like to

8     call to support their sanctions request.           Are those

9     witnesses that you expect you would call in your

10    case-in-chief?

11                MR. DINTZER:     Some of them are, Your Honor.

12    I believe one is not.

13                One of the questions that we would ask sort of as

14    a predicate to that is whether the Court plans on adopting

15    the findings Epic, as we asked, I believe, in footnote 4 of

16    our filing, that that would take some of the lift off as far

17    as who we need to call.

18                THE COURT:     I mean, my reaction is that I'm not

19    inclined to do that.       I think, you know, Judge Donato's --

20    well, let's put it this way:        It's not clear to me that

21    there is any sort of reclusive effect on either factually or

22    on the issues here.

23                And we do have a different set of -- there are --

24    the record before me, I think, should fall -- stand or fall

25    based upon what's happened with respect to this case.               And
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                                                                               20

1     it's not clear to me that the testimony that was elicited in

2     Judge Donato's matter is equally applicable here.

3                 So when it comes to something of this -- when it

4     comes to this issue, I'm -- unless Google is prepared to

5     stipulate to either facts or testimony or evidence, then I'm

6     disinclined to adopt the Epic court's findings.

7                 MR. DINTZER:     Understood, Your Honor.

8                 Then in answer to your question, we've asked for

9     four individuals.       They -- Mr. Juda --

10                THE COURT:     Three.

11                MR. DINTZER:     I'm sorry, you're right, three:

12    Mr. Juda, Mr. Kolotouros, and Yuki Richardson.             Two are

13    will-calls on our list.       One is a may-call.

14                THE COURT:     Okay.

15                MR. DINTZER:     And then there's a discussion about

16    sort of background information that a Mr. Chen provided in

17    Epic that we don't have on our list because he's not part of

18    our case; he's just part of how the -- how Google handles

19    their off-the-record chats.

20                But the primary witnesses of Mr. Juda,

21    Mr. Kolotouros, we intend to call; and Ms. Richardson, we

22    may call.

23                THE COURT:     Okay.

24                Mr. Cavanaugh, you've got two people on your

25    list -- you've identified two people that you would like to
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                                                                               21

1     examine.    Are those folks people you intend to call in your

2     case?

3                 MR. CAVANAUGH:     I think only one of them is,

4     Mr. Varia.

5                 THE COURT:     And, Mr. Schmidtlein, if I were to

6     take further testimony or take testimony on this issue,

7     would you be seeking to call your own witnesses?

8                 MR. SCHMIDTLEIN:       I don't have an answer for that

9     at the moment, Your Honor.         I guess it would depend on what

10    issues you wanted to hear on.

11                THE COURT:     Okay.

12                Look, I think there are both -- well, there is a

13    practical challenge here.       You know, I don't sit in the

14    Northern District of California, so it's not as if these

15    folks can just drive down the road and come testify for

16    60 minutes or however long we're talking about.

17                And so from the standpoint of getting people into

18    court to do that, it seems to me that it would be more

19    efficient, obviously, to just simply do any examination in

20    combination with the examination you're going to do

21    at trial.

22                If there are people who are not witnesses -- who

23    are not also trial witnesses, then perhaps we can do that by

24    video if both sides would be prepared to do that, and we can

25    just fold that into the trial as well.
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                                                                                 22

1                 I will tell you, given my schedule, it is going to

2     be difficult to even set out -- set aside a full day before

3     we begin to have an evidentiary hearing.

4                 So let me just pray on it a little bit more and

5     then I'll let everybody know.           We'll issue an order that'll

6     reflect how we'll proceed by the end of the week.

7                 But I think you can expect that if I do want to

8     hear testimony, it will likely be consolidated into the

9     trial itself and not a separate proceeding, okay?

10                MR. SCHMIDTLEIN:     Thank you, Your Honor.

11                MR. DINTZER:     Understood, Your Honor.

12                And to the extent that the Court is willing to do

13    an evidentiary hearing, we would be happy to do that.

14    However it would make it more easy on the Court, if we

15    needed to do that, even through video, then we would do

16    that.   But we understand what you're saying, Your Honor.

17                THE COURT:     Last thing that I had in terms of

18    scheduling is, I meant to touch on this earlier, is that you

19    all -- I don't think we have -- you have requested two

20    hearings prior to the commencement of trial, a hearing to

21    discuss disputes over confidentiality over trial exhibits

22    and then a pretrial conference, and we don't have dates for

23    either.   They have been proposed, but they haven't been

24    formally set.

25                Do you think we'll need that first hearing
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                                                                               23

1     concerning confidentiality designations?           Well, let me put

2     it differently.     Do we need a separate hearing or is that

3     something that can be folded into the Pretrial Conference?

4                 MR. DINTZER:     It's one that we would prefer to do

5     earlier, Your Honor.

6                 There's a real risk that if we kick sort of the

7     confidentiality items down the road, that they start to muck

8     up the trial itself.

9                 And some guidance from the Court -- right now,

10    we're sort of in the earlier stages of working things out

11    with Google.    But if we have anything that is -- that --

12    to -- if there's anything that remains unresolved, to have

13    it addressed by the Court earlier on would give us a chance

14    to clarify it before we're on the eve of trial.

15                We would also ask Your Honor for status

16    conferences that maybe could align with these just to keep

17    things moving.

18                THE COURT:     Okay.

19                MR. SCHMIDTLEIN:       I think from our perspective,

20    you know, the confidentiality issues, now that we know and

21    we have your guidance on depositions and designations and

22    exhibits, I think that's going to be very helpful,

23    particularly if we're moving exhibits into evidence sort of

24    not in open court, if you will; in other words, not having

25    all of the exhibits necessarily displayed, that they can
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                                                                                24

1     come into evidence, but they're not necessarily all publicly

2     available, if you will, because a lot of this will be

3     potentially sensitive business documents from not only

4     Google but various third parties as well.

5                 I think it then becomes a question of how to

6     manage, you know, live trial testimony --

7                 THE COURT:     Right.

8                 MR. MR. SCHMIDTLEIN:        -- the use of documents

9     potentially in conjunction with those live trial witnesses.

10    And I think that presents some of the same questions

11    we've been wrestling with at some of the hearings we've had

12    with you.

13                THE COURT:     So the one other time I've had to do

14    this, what we did was -- and I thought it was done well --

15    is that in order to try and make things efficient and try

16    and minimize the need to close the courtroom, either, one,

17    would be to impress upon the parties to minimize, to the

18    extent possible, both confidential testimony and

19    confidential records.       I understand that there will be some

20    number and some amount of that testimony, but less is more.

21                Insofar as the need for such testimony, what we

22    did allow -- what we -- this was in the merger case we did

23    some years ago -- was that for any particular witness that

24    would require a closed setting, what we did was we would

25    have the direct examination of the witness proceed to the
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                                                                              25

1     extent we could in an open forum.        We would then have the

2     closed session with that witness.        And then we would move

3     right into any cross-examination just on the closed-session

4     topics, so that that entire closed session is done -- we're

5     not having to basically close the courtroom twice.

6                 And then once that portion of the

7     cross-examination is concluded, we would then reopen the

8     courtroom and had rest of the cross-examination would

9     continue.    You know, we would hope to avoid any need to

10    close the courtroom for rebuttal.        But if it happens, it

11    happens.    We can take that up on a witness-by-witness basis.

12                MR. DINTZER:    Well, Your Honor, one of the things

13    is with respect to the documents, is that if we get -- our

14    concern is that both Google and perhaps third parties dig in

15    heels on confidentiality issues or don't cooperate and don't

16    help us to find what Your Honor is talking about, which is

17    the narrowest range of possible confidentiality assertions

18    in the documents.

19                And by involving the Court earlier and not as part

20    of the pretrial, but hopefully this won't take a long time,

21    but getting the Court's insight into where the Court draws

22    the line, our goal would be that the documents would be --

23    we would know before we started trial where the

24    confidentiality line is with the documents so we could

25    know -- so that as trial proceeds, there is not nightly or
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                                                                               26

1     daily or whatever fights about confidentiality and that

2     we've got all that resolved sort of in the pretrial process,

3     and getting the Court involved and getting some guidance if

4     there's a sticking point.

5                 If it turns out -- and if I'm overstating Google's

6     position and they are -- their position basically aligns

7     with ours, then we can go through the documents, figure out

8     where to draw the line.

9                 THE COURT:     Give me sense, Mr. Dintzer, because,

10    look, I'm in the dark here --

11                MR. DINTZER:     Sure.

12                THE COURT:     -- in terms of where the lines might

13    be drawn.    Obviously, there are -- there are some categories

14    that are obvious.       Internal financial numbers, for example,

15    I can see how that -- those are -- that type of evidence

16    would want to be done in closed session.           You know, perhaps

17    terms of particular contracts, that may be at issue, too.

18                But it seems like you all have yet to -- and I

19    would want to do that as a first step, is just have you all

20    talk amongst yourselves in terms of where you think the line

21    ought to be drawn.       And then I'm happy to sit down with

22    everybody to talk through whatever the disputes are and

23    figure out how we can accommodate everyone's interests,

24    including, importantly, the public's.

25                So...
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1                 MR. DINTZER:     We asked Google -- along those

2     lines, we asked Google to provide us with 30 or 40 examples

3     of sort of where they're drawing the line, because they

4     basically -- they have to go first.          We need to see from

5     them where they're thinking.

6                 And they haven't engaged with us yet, but

7     hopefully they'll engage with us on sort of 30, 40 examples

8     of where they think the line is, and we could engage with

9     them on that subject.

10                And that -- you know, if we're copacetic on that,

11    then the issues that we would have to resolve at this

12    conference on confidentiality would be narrower.             If they're

13    wide, then we might be perhaps in front of Your Honor sooner

14    so that we can get that -- get the guidance so that we can

15    apply it.

16                THE COURT:     And what do you all plan to do with

17    respect to third parties and third-party testimony?              Well,

18    let's just start with documents.

19                I haven't looked at the confidentiality -- or the

20    protective order in a while, but I assume that you all will

21    flag to counsel for any third party any records from those

22    third parties that you wish to put into evidence and

23    particularly anything that you want to talk about on the

24    public record in advance so that we can hear from them if

25    there are any disputes about status of a document.
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                                                                                  28

1                 MR. DINTZER:     Yes, Your Honor.

2                 The CMO requires notice by July 18th, and so that

3     is built into the process.

4                 I'm sorry, Counsel.         I didn't mean to interrupt.

5                 MR. CAVANAUGH:     Your Honor, we have a number of

6     third-party documents on our exhibit list that we'll be

7     notifying counsel for those third parties as to what the

8     documents are that are not on our exhibit list and see if

9     they have any confidentiality that are concerns.

10                I do think discussions with Google, getting an

11    idea of where the line is being drawn, will then provide us

12    some guidance in dealing with third parties, to some extent.

13                THE COURT:     Okay.

14                All right.     Well, how much time do you think -- in

15    advance of trial do you think would be beneficial?                I mean,

16    you all had suggested it just be a few days before the

17    pretrial conference; but from what I'm hearing, it may be

18    wiser to do it further out from trial than late August.

19                MR. DINTZER:     We would recommend that, Your Honor.

20                It feels like more like early August would be the

21    best time so that we -- so by then, these issues should be

22    teed up, and we should have a feel for whether Google or a

23    third party is over-designated to the point where we would

24    have to deal with it at trial.

25                And I think the one thing that we can all agree on
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                                                                                29

1     is that we don't want to be spending trial time with

2     confidentiality issues.       That's sort of the most important

3     thing that we want to deal with.          And making sure that the

4     public has access to as much of the trial as possible.

5                 THE COURT:     All right.

6                 Well, how about the afternoon of August the 11th?

7     Are you all available then?

8                 MR. DINTZER:     Yes, Your Honor.

9                 The 14th would be a little better, if that's

10    possible.    But we can make the 11th if that's a comfort of

11    the Court.

12                THE COURT:     Yeah, I am out that week, so I'm

13    trying to squeeze it in before I head out of town.

14                MR. DINTZER:     Of course.

15                Then the 11th will work for us, Your Honor.

16                MR. CAVANAUGH:     Yes, Your Honor.

17                I know I have a status conference that day in

18    another matter, but I can -- either Mr. Sallet or I'll get

19    one of my partners to cover the other.           So, yes, I can do

20    the 11th.

21                THE COURT:     Okay.

22                Mr. Schmidtlein, I assume that works for you?

23                MR. MR. SCHMIDTLEIN:        We can make that work.

24                Is there a chance we could do that remotely?

25                THE COURT:     Sure.
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1                 I mean, I think -- yes, and we can certainly do it

2     remotely.

3                 I think it would be -- if there are documents you

4     want me to see in connection with that, then obviously just

5     submit everything ahead of time and so I'll have an

6     opportunity to look at it and be able to perhaps have more

7     intelligent conversation about it than otherwise.

8                 So let's -- we'll do it remotely on the afternoon

9     of August the 11th, and I'll just ask --

10                MR. DINTZER:     We recommend that it be a closed

11    hearing, given the nature of what we're going to be

12    discussing.

13                THE COURT:     Okay.   That's fine.

14                And so why don't you all just submit, by August

15    the 9th, any records that you'd like for me to have a look

16    at before we met meet on the afternoon of the 11th.

17                MR. DINTZER:     Thank you, Your Honor.

18                THE COURT:     And, obviously, just submit those

19    directly to chambers.

20                MR. DINTZER:     We will.

21                THE COURT:     Okay.

22                So let's then set our pretrial date.           You all had

23    suggested September 1.

24                I'm going assume we can get the pretrial done in a

25    half-day.    I can't imagine -- I would hope it wouldn't take
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1     more than that, especially if we're going to have a couple

2     of status conferences between now and then.              If there is

3     reason to think that that's going to change, then I'll have

4     some -- we'll have a sense of that before the date itself.

5     So why don't we set September 1 at 2:00 p.m.

6                 MR. DINTZER:     That would be fine with us,

7     Your Honor.

8                 A question about the pretrial conference just for

9     the planning:    Would the Court envision that it would want

10    us to address the Dauberts or the motions in limine --

11    obviously we haven't filed those yet -- but at the Pretrial?

12    Is that part of the Court's practice, or what should we

13    expect?

14                THE COURT:     I think that's right.         We'll have to

15    see what the volume looks like.         But usually my practice is

16    to simply try and resolve things orally at the Pretrial in

17    terms of motions in limine.

18                And I ought to have some further guidance in terms

19    of the Daubert motions well before that.

20                MR. DINTZER:     We appreciate that, Your Honor.

21                THE COURT:     Okay.

22                All right.     So then in terms of just putting a

23    couple of statuses on the record here.

24                So how about 3:30 on July the 14th.            Let me just

25    take a look.    Hang on.
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1                 How about July 21 is your exchange in expert --

2     the deadline is on the 18th.        So why don't we push it out

3     after that date.

4                 So how about -- sorry, everyone.

5                 Why don't we set the 19th at 4:00, and we can do

6     that remotely.

7                 MR. DINTZER:     That's sound great, Your Honor.

8                 MR. SALET:     That's fine, Your Honor.

9                 THE COURT:     And then why don't we do something the

10    week of the 7th as well.

11                How about 4:00 on the 9th?

12                MR. DINTZER:     We're available, Your Honor.

13                MR. SALET:     That's fine, Your Honor.

14                MR. SCHMIDTLEIN:     Your Honor, you're talking about

15    August the 9th?

16                THE COURT:     Right.

17                MR. SCHMIDTLEIN:     So in addition to the 11th --

18                THE COURT:     Well, I guess -- no.          That's fair.

19                Why don't we just roll everything into one on

20    the 11th unless there is a reason to get together sooner.

21                MR. DINTZER:     That works for us, Your Honor.

22                THE COURT:     And then we have the Pretrial

23    Conference on the 1st.       And so that's three weeks later.              So

24    that'll give us two status conferences between now and then.

25    And, obviously, if there's a reason to get together before
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                                                                               33

1     then, you will just let me know, okay?

2                 MR. DINTZER:     We appreciate that, Your Honor.

3                 THE COURT:     All right.

4                 Okay.   Anything else we need to discuss this

5     afternoon?

6                 MR. DINTZER:     For us just briefly, Your Honor,

7     does the Court need a Pretrial Statement?           We already have

8     the pretrial brief on the -- coming in, and we would ask

9     that the Court's preference is to have a Pretrial Statement

10    as well?

11                THE COURT:     No, I don't think I'll need one.

12                I've -- no, I don't think I'll need one unless --

13    I'm trying to think of what I would even need in a Pretrial

14    Statement that you already -- that I already won't have.

15    Let me think about it, but I don't think there will be a

16    need for a separate Pretrial Statement.

17                MR. DINTZER:     We appreciate that, Your Honor.

18    Thank you.

19                THE COURT:     Okay.

20                All right.     Well, thank you, everybody.         Unless

21    there's anything else, we'll adjourn for now, and then we'll

22    see everybody in a couple of weeks.

23                MR. DINTZER:     Thank you, Your Honor.

24                MR. SALET:     Thank you, Judge.

25                THE COURT:     Thank you, everyone.
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1                 (Proceedings concluded at 2:51 p.m.)

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                         C E R T I F I C A T E
                  I, William P. Zaremba, RMR, CRR, certify that
 the foregoing is a correct transcript from the record of
 proceedings in the above-titled matter.




 Date:__June 28, 2023________ ____________________________
                                    William P. Zaremba, RMR, CRR
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